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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


YETI Coolers, LLC,                                    Case No. 4:21-cv-3203

       Plaintiff,                                     Jury Trial Demanded

       v.                                             (1) – (15) PATENT INFRINGEMENT IN
                                                            VIOLATION OF 35 U.S.C. § 271;
Igloo Products Corporation,                           (16) TRADE DRESS INFRINGEMENT IN
                                                            VIOLATION OF 15 U.S.C. § 1125(a);
       Defendant.                                     (17) TRADE DRESS DILUTION IN
                                                            VIOLATION OF 15 U.S.C. § 1125(c);
                                                      (18) UNFAIR COMPETITION AND FALSE
                                                            DESIGNATION OF ORIGIN IN
                                                            VIOLATION OF 15 U.S.C. § 1125(a);
                                                      (19) TRADE DRESS DILUTION IN
                                                            VIOLATION OF TEX. BUS. & COM.
                                                            CODE § 16.103;
                                                      (20) COMMON LAW TRADE DRESS
                                                            INFRINGEMENT;
                                                      (21) COMMON LAW UNFAIR
                                                            COMPETITION;
                                                      (22) MISAPPROPRIATION; AND
                                                      (23) UNJUST ENRICHMENT.




                                         COMPLAINT

       Plaintiff, YETI Coolers, LLC (“YETI”), for its Complaint against Defendant, Igloo

Products Corporation (“Igloo”), alleges as follows:

                                          The Parties

       1.      YETI is a company organized and existing under the laws of the State of Delaware

with a principal place of business at 7601 Southwest Parkway, Austin, TX 78735.
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       2.      Igloo is a company organized and existing under the laws of the State of Delaware

with a principal place of business at 777 Igloo Road, Katy, TX 77494.

                                      Jurisdiction and Venue

       3.      This is an action for patent infringement, trade dress infringement, trade dress

dilution, unfair competition and false designation of origin, misappropriation, and unjust

enrichment. This action arises under the Patent Act, 35 U.S.C. §§ 1 et seq, the Texas Business &

Commerce Code, the Trademark Act of 1946, at 15 U.S.C. § 1051, et seq. (“the Lanham Act”),

the federal common law, and state common law, including the law of Texas. This Court has subject

matter jurisdiction over this action pursuant to at least 15 U.S.C. § 1121(a) and 28 U.S.C. §§ 1331

and 1338(a) & (b), and 1367(a).

       4.      This Court has personal jurisdiction over Igloo because, inter alia, Igloo is

purposefully and intentionally availing itself of the privileges of doing business in the State of

Texas, including in this District, at least because Igloo has a regular and established place of

business in this District, because Igloo has committed acts of patent infringement in the State of

Texas, including in this District, and because Igloo has committed acts of trade dress infringement,

trade dress dilution, unfair competition and false designation of origin, misappropriation, and

unjust enrichment in the State of Texas, including in this District. Igloo transacts business and

makes, uses, sells, and/or offers for sale products that violate the asserted patents and trade dress

in the State of Texas and in this District.

       5.      Venue is proper in this District pursuant to at least 28 U.S.C. §§ 1391(a)-(d) and 28

U.S.C. § 1400(b) at least because Igloo has committed acts of patent infringement and trade dress

infringement in this District and has a regular and established place of business in this District.




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                     General Allegations — YETI’s Intellectual Property

       6.      For years, YETI has continuously engaged in the design, development,

manufacture, promotion, and sales of its drinkware products, including, for example, its Rambler®

Bottles, Rambler® Tumblers, Rambler® Mugs, and Rambler® Colster® Beverage Holder

(collectively, “Rambler® Drinkware”). YETI has invested substantial resources into the research,

design, and development of its Rambler® Drinkware. And YETI’s research, design, and

development have led to many innovative drinkware designs and technologies, including designs

and technologies at issue in this lawsuit.

       7.      For example, YETI owns U.S. Design Patent No. D783,367 (“the ‘367 Patent”),

U.S. Design Patent No. D807,125 (“the ‘125 Patent”), U.S. Design Patent No. D784,775 (“the

‘775 Patent”), U.S. Design Patent No. D804,256 (“the ‘256 Patent”), U.S. Design Patent No.

D807,126 (“the ‘126 Patent”), U.S. Design Patent No. D799,906 (“the ‘906 Patent”), U.S. Design

Patent No. D783,368 (“the 368 Patent”), U.S. Design Patent No. D823,069 (“the ‘069 Patent”), all

related to a bottle; U.S. Design Patent No. D760,586 (“the ‘586 Patent”), U.S. Design Patent No.

D781,146 (“the ‘146 Patent”), U.S. Design Patent No. D780,577 (“the ‘577 Patent”), U.S. Design

Patent No. D781,145 (“the ‘145 Patent”), all related to a lid; U.S. Design Patent No. D780,530

(“the ‘530 Patent”) and U.S. Design Patent No. D779,891 (“the ‘891 Patent”), both related to a

beverage holder; and U.S. Patent No. 11,014,720 (“the ‘720 Patent”), related to a closure and lid.

       8.      The ‘367 Patent is titled “Bottle.” On April 11, 2017, the ‘367 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘367 Patent. A copy of the ‘367 Patent is attached as Exhibit 1. An exemplary figure from the

‘367 Patent is shown in Illustration 1 below:




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                        Illustration 1: Exemplary Figure from the ‘367 Patent




       9.      The ‘125 Patent is titled “Bottle.” On January 9, 2018, the ‘125 Patent was duly

and legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest

to the ‘125 Patent. A copy of the ‘125 Patent is attached as Exhibit 2. An exemplary figure from

the ‘125 Patent is shown in Illustration 2 below:

                        Illustration 2: Exemplary Figure from the ‘125 Patent




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       10.     The ‘775 Patent is titled “Bottle.” On April 25, 2017, the ‘775 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘775 Patent. A copy of the ‘775 Patent is attached as Exhibit 3. An exemplary figure from the

‘775 Patent is shown in Illustration 3 below:

                        Illustration 3: Exemplary Figure from the ‘775 Patent




       11.     The ‘256 Patent is titled “Bottle.” On December 5, 2017, the ‘256 Patent was duly

and legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest

to the ‘256 Patent. A copy of the ‘256 Patent is attached as Exhibit 4. An exemplary figure from

the ‘256 Patent is shown in Illustration 4 below:




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                        Illustration 4: Exemplary Figure from the ‘256 Patent




       12.     The ‘126 Patent is titled “Bottle.” On January 9, 2018, the ‘126 Patent was duly

and legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest

to the ‘126 Patent. A copy of the ‘126 Patent is attached as Exhibit 5. An exemplary figure from

the ‘126 Patent is shown in Illustration 5 below:




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                        Illustration 5: Exemplary Figure from the ‘126 Patent




       13.     The ‘906 Patent is titled “Bottle.” On October 17, 2017, the ‘906 Patent was duly

and legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest

to the ‘906 Patent. A copy of the ‘906 Patent is attached as Exhibit 6. An exemplary figure from

the ‘906 Patent is shown in Illustration 6 below:




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                        Illustration 6: Exemplary Figure from the ‘906 Patent




       14.     The ‘368 Patent is titled “Bottle.” On April 11, 2017, the ‘368 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘368 Patent. A copy of the ‘368 Patent is attached as Exhibit 7. An exemplary figure from the

‘368 Patent is shown in Illustration 7 below:




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                        Illustration 7: Exemplary Figure from the ‘368 Patent




       15.     The ‘069 Patent is titled “Bottle.” On July 17, 2018, the ‘069 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘069 Patent. A copy of the ‘069 Patent is attached as Exhibit 8. An exemplary figure from the

‘069 Patent is shown in Illustration 8 below:




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                        Illustration 8: Exemplary Figure from the ‘069 Patent




       16.     The ‘586 Patent is titled “Lid.” On July 5, 2016, the ‘586 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘586 Patent. A copy of the ‘586 Patent is attached as Exhibit 9. An exemplary figure from the

‘586 Patent is shown in Illustration 9 below:

                        Illustration 9: Exemplary Figure from the ‘586 Patent




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       17.     The ‘146 Patent is titled “Lid.” On March 14, 2017, the ‘146 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘146 Patent. A copy of the ‘146 Patent is attached as Exhibit 10. An exemplary figure from the

‘146 Patent is shown in Illustration 10 below:

                       Illustration 10: Exemplary Figure from the ‘146 Patent




       18.     The ‘577 Patent is titled “Lid.” On March 7, 2017, the ‘577 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘577 Patent. A copy of the ‘577 Patent is attached as Exhibit 11. An exemplary figure from the

‘577 Patent is shown in Illustration 11 below:




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                       Illustration 11: Exemplary Figure from the ‘577 Patent




       19.     The ‘145 Patent is titled “Lid.” On March 14, 2017, the ‘145 Patent was duly and

legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title, and interest to

the ‘145 Patent. A copy of the ‘145 Patent is attached as Exhibit 12. An exemplary figure from the

‘145 Patent is shown in Illustration 12 below:




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                       Illustration 12: Exemplary Figure from the ‘145 Patent




       20.     The ‘530 Patent is titled “Beverage Holder.” On March 7, 2017, the ‘530 Patent

was duly and legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title,

and interest to the ‘530 Patent. A copy of the ‘530 Patent is attached as Exhibit 13. An exemplary

figure from the ‘530 Patent is shown in Illustration 13 below:

                       Illustration 13: Exemplary Figure from the ‘530 Patent




       21.     The ‘891 Patent is titled “Beverage Holder.” On February 28, 2017, the ‘891 Patent

was duly and legally issued by the U.S. Patent Office to YETI. YETI owns the entire, right, title,


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and interest to the ‘891 Patent. A copy of the ‘891 Patent is attached as Exhibit 14. An exemplary

figure from the ‘891 Patent is shown in Illustration 14 below:

                       Illustration 14: Exemplary Figure from the ‘891 Patent




       22.     The ‘720 Patent is titled “Closure and Lid and Method of Forming Closure and

Lid.” On May 25, 2021, the ‘720 Patent was duly and legally issued by the U.S. Patent Office to

YETI. YETI owns the entire, right, title, and interest to the ‘720 Patent. A copy of the ‘720 Patent

is attached as Exhibit 15.

       23.     YETI also owns trade dress rights relating to its Rambler® Drinkware, as discussed

in more detail below. In particular, YETI created unique, distinctive, and non-functional designs

to use with YETI’s Rambler® Drinkware. YETI has extensively and continuously promoted and

used these designs in the United States and in the State of Texas. Through that extensive and

continuous promotion and use, YETI’s designs have become a well-known indicator of the origin

and quality of YETI’s Rambler® Drinkware. YETI’s designs also have acquired substantial

secondary meaning in the marketplace and have become famous.




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       24.     YETI has enjoyed significant sales of its Rambler® Drinkware throughout the

United States, including sales to customers in the State of Texas. YETI has invested significant

resources in the design, development, manufacture, advertising, and marketing of its Rambler®

Drinkware. The designs and features of YETI’s Rambler® Drinkware have received widespread

and unsolicited public attention. For example, the Rambler® Drinkware has been featured in

numerous newspaper, magazine, and Internet articles, including in the State of Texas.

       25.     The designs of the Rambler® Drinkware have distinctive and non-functional

features that identify to consumers that the origin of the drinkware is YETI. As a result of at least

YETI’s continuous and exclusive use of the designs of the Rambler® Drinkware, YETI’s

marketing, advertising, and sales of the Rambler® Drinkware, and the highly valuable goodwill,

substantial secondary meaning, and fame acquired as a result, YETI owns trade dress rights in the

designs and appearances of the Rambler® Drinkware, which consumers have come to uniquely

associate with YETI.

       26.     Exemplary images of YETI Rambler® Bottles are shown below:




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               Illustration 15: Exemplary Images of YETI 26 oz. Rambler® Bottles.




               Illustration 16: Exemplary Images of YETI 36 oz. Rambler® Bottles.




       27.     YETI has trade dress rights in the overall look, design, and appearance of the YETI

Rambler® Bottles, which includes the design and appearance of the curves, tapers, and lines in the

YETI Rambler® Bottles; the design and appearance of the profile of the YETI Rambler® Bottles;

the design and appearance of the walls of the YETI Rambler® Bottles; the design and appearance

of the rim of the YETI Rambler® Bottles; the design, appearance, and placement of the taper in

the side wall of the YETI Rambler® Bottles; the design, appearance, and placement of the upper

portion, mid portion, and bottom portion of the side wall of the YETI Rambler® Bottles; the


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design, appearance, and placement of the style line around the base of the YETI Rambler® Bottles;

the design, appearance, and placement of the taper in the lid of the YETI Rambler® Bottles; the

design, appearance, and placement of the handle on the lid of the YETI Rambler® Bottles; the

design, appearance, and placement of the top plane of the lid of the YETI Rambler® Bottles; the

design, appearance, and placement of the side walls of the lid of the YETI Rambler® Bottles; the

color contrast and color combinations of the YETI Rambler® Bottles and the lids of the YETI

Rambler® Bottles; and the relationships of these features to each other and to other features.

       28.     Exemplary images of YETI 30 oz. Rambler® Tumblers are shown below:

              Illustration 17: Exemplary Images of YETI 30 oz. Rambler® Tumblers.




       29.     YETI has trade dress rights in the overall look, design, and appearance of the YETI

30 oz. Rambler® Tumbler, which includes the design and appearance of the curves, tapers, and

lines in the YETI 30 oz. Rambler® Tumbler; the design and appearance of the profile of the YETI

30 oz. Rambler® Tumbler; the design and appearance of the walls of the YETI 30 oz. Rambler®

Tumbler; the design and appearance of the rim of the YETI 30 oz. Rambler® Tumbler; the design,

appearance, and placement of the taper in the sidewall of the YETI 30 oz. Rambler® Tumbler; the


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design, appearance, and placement of the upper portion, mid portion, and bottom portion of the

side wall of the YETI 30 oz. Rambler® Tumbler; the design, appearance, and placement of the

style line around the base of the YETI 30 oz. Rambler® Tumbler; the design, appearance, and

placement of the tab on the lid of the YETI 30 oz. Rambler® Tumbler; the design, appearance,

and placement of the drinking opening on the lid of the YETI 30 oz. Rambler® Tumbler; the

design, appearance, and placement of the top plane of the lid of the YETI 30 oz. Rambler®

Tumbler; the design, appearance, and placement of the side walls of the lid of the YETI 30 oz.

Rambler® Tumbler; the color contrast and color combinations of the YETI 30 oz. Rambler®

Tumbler and tumbler lid of the YETI 30 oz. Rambler® Tumbler; and the relationship of these

features to each other and to other features.

       30.     Exemplary images of YETI 20 oz. Rambler® Tumblers are shown below:

              Illustration 18: Exemplary Images of YETI 20 oz. Rambler® Tumblers.




       31.     YETI has trade dress rights in the overall look, design, and appearance of the YETI

20 oz. Rambler® Tumbler, which includes the design and appearance of the curves, tapers, and

lines in the YETI 20 oz. Rambler® Tumbler; the design and appearance of the profile of the YETI

20 oz. Rambler® Tumbler; the design and appearance of the walls of the YETI 20 oz. Rambler®



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Tumbler; the design and appearance of the rim of the YETI 20 oz. Rambler® Tumbler; the design,

appearance, and placement of the taper in the side wall of the YETI 20 oz. Rambler® Tumbler;

the design, appearance, and placement of the style line around the base of the YETI 20 oz.

Rambler® Tumbler; the design, appearance, and placement of the tab on the lid of the YETI 20

oz. Rambler® Tumbler; the design, appearance, and placement of the drinking opening on the lid

of the YETI 20 oz. Rambler® Tumbler; the design, appearance, and placement of the top plane of

the lid of the YETI 20 oz. Rambler® Tumbler; the design, appearance, and placement of the side

walls of the lid of the YETI 20 oz. Rambler® Tumbler; the color contrast and color combinations

of the YETI 20 oz. Rambler® Tumbler and tumbler lid of the YETI 20 oz. Rambler® Tumbler;

and the relationship of these features to each other and to other features.

       32.     Exemplary images of YETI Rambler® Mugs are shown below:

                    Illustration 19: Exemplary Images of YETI Rambler® Mugs.




       33.     YETI has trade dress rights in the overall look, design, and appearance of the YETI

Rambler® Mug, which includes the design and appearance of the curves in the YETI Rambler®

Mug; the design and appearance of the profile of the YETI Rambler® Mug; the design and

appearance of the profile of the YETI Rambler® Mug; the design and appearance of the walls of

the YETI Rambler® Mug; the design and appearance of the rim of the YETI Rambler® Mug; the

design, appearance, and placement of the handle of the YETI Rambler® Mug; the design,

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appearance, and placement of the tab on the lid of the YETI Rambler® Mug; the design,

appearance, and placement of the drinking opening on the lid of the YETI Rambler® Mug; the

design, appearance, and placement of the top plane of the lid of the YETI Rambler® Mug; the

design, appearance, and placement of the side walls of the lid of the YETI Rambler® Mug; the

color contrast and the color combinations of the YETI Rambler® Mug and the lid of the YETI

Rambler® Mug; and the relationship of these features to each other and to other features.

         34.    Exemplary images of YETI Rambler® Colster® Beverage Holders are shown

below:

               Illustration 20: Exemplary Images of YETI Rambler® Colster® Beverage
                                              Holders.




         35.    YETI has trade dress rights in the overall look, design, and appearance of the YETI

Rambler® Colster® Beverage Holder, which includes the design and appearance of the curves and

lines in the YETI Rambler® Colster® Beverage Holder; the design and appearance of the profile

of the YETI Rambler® Colster® Beverage Holder; the design and appearance of the walls of the

YETI Rambler® Colster® Beverage Holder; the design and appearance of the rim of the YETI

Rambler® Colster® Beverage Holder; the design, appearance, and placement of the top plane of

the upper band of the YETI Rambler® Colster® Beverage Holder; the design, appearance, and

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placement of the side walls of the upper band of the YETI Rambler® Colster® Beverage Holder;

the color contrast and color combinations of the YETI Rambler® Colster® Beverage Holder and

the upper band of the YETI Rambler® Colster® Beverage Holder; and the relationship of these

features to each other and to other features.

       36.     As a result of YETI’s exclusive, continuous, and substantial use, advertising, and

sales of its Rambler® Drinkware products bearing YETI’s trade dress, and the publicity and

attention that has been paid to YETI’s trade dress, YETI’s trade dress has become famous and has

acquired valuable goodwill and substantial secondary meaning in the marketplace, as consumers

have come to uniquely associate YETI’s trade dress as a source identifier of YETI.

                       General Allegations — Igloo’s Unlawful Activities

       37.     Igloo has purposefully advertised, marketed, promoted, offered for sale, sold,

distributed, manufactured, and/or imported, and continues to advertise, market, promote, offer for

sale, sell, distribute, manufacture, and/or import, products that violate YETI’s rights, including the

rights protected by YETI’s intellectual property. Igloo’s actions have all been without the

authorization of YETI.

       38.     As discussed in more detail below, Igloo is selling drinkware products that infringe

YETI’s patent rights. Igloo is not authorized to use YETI’s patented technologies. Igloo is also

selling drinkware products that infringe YETI’s trade dress rights. Igloo is trying to confuse

consumers into thinking that its drinkware products are associated with, sponsored by, or approved

by YETI, when they are not. Igloo’s actions are unlawful, and they must stop. Igloo must also

compensate YETI for Igloo’s violations of the law.

       39.     Igloo’s infringing products include its 26 oz. Stainless Steel Bottle, 36 oz. Stainless

Steel Bottle, 27 oz. Stainless Steel Tumbler, 20 oz. Stainless Steel Tumbler, 13.5 oz. Stainless



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Steel Mug, and 12oz. Stainless Steel CoolMate. Igloo’s infringing products are shown on Igloo’s

website, e.g., https://www.igloocoolers.com/pages/drinkware, and exemplary images of Igloo’s

infringing products are also shown below:

             Illustration 21: Exemplary Images of Igloo’s 26 oz. Stainless Steel Bottle




             Illustration 22: Exemplary Images of Igloo’s 36 oz. Stainless Steel Bottle




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     Illustration 23: Exemplary Images of Igloo’s 27 oz. Stainless Steel Tumbler




     Illustration 24: Exemplary Images of Igloo’s 20 oz. Stainless Steel Tumbler




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              Illustration 25: Exemplary Images of Igloo’s 13.5 oz. Stainless Steel Mug




             Illustration 26: Exemplary Images of Igloo’s 12 oz. Stainless Steel CoolMate




                                          Count I:
           Patent Infringement of U.S. Patent No. D783,367 Under 35 U.S.C. § 271

       40.     YETI realleges and incorporates the allegations set forth in paragraphs 1 through

39 as though fully set forth herein.

       41.     Igloo has infringed and continues to infringe the ‘367 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.




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Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘367

Patent.

          42.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘367 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘367 Patent are substantially the same, and an ordinary

observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘367 Patent to be substantially the same.

          43.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

          44.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

          45.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                          Count II:
            Patent Infringement of U.S. Patent No. D807,125 Under 35 U.S.C. § 271

          46.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

45 as though fully set forth herein.

          47.   Igloo has infringed and continues to infringe the ‘125 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘125

Patent.




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          48.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘125 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘125 Patent are substantially the same, and an ordinary

observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘125 Patent to be substantially the same.

          49.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

          50.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

          51.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                          Count III:
            Patent Infringement of U.S. Patent No. D784,775 Under 35 U.S.C. § 271

          52.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

51 as though fully set forth herein.

          53.   Igloo has infringed and continues to infringe the ‘775 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘775

Patent.

          54.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘775 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘775 Patent are substantially the same, and an ordinary

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observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘775 Patent to be substantially the same.

          55.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

          56.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

          57.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                          Count IV:
            Patent Infringement of U.S. Patent No. D804,256 Under 35 U.S.C. § 271

          58.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

57 as though fully set forth herein.

          59.   Igloo has infringed and continues to infringe the ‘256 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘256

Patent.

          60.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘256 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘256 Patent are substantially the same, and an ordinary

observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘256 Patent to be substantially the same.




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          61.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

          62.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

          63.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                          Count V:
            Patent Infringement of U.S. Patent No. D807,126 Under 35 U.S.C. § 271

          64.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

63 as though fully set forth herein.

          65.   Igloo has infringed and continues to infringe the ‘126 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘126

Patent.

          66.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘126 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘126 Patent are substantially the same, and an ordinary

observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘126 Patent to be substantially the same.

          67.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.




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          68.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

          69.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                          Count VI:
            Patent Infringement of U.S. Patent No. D799,906 Under 35 U.S.C. § 271

          70.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

69 as though fully set forth herein.

          71.   Igloo has infringed and continues to infringe the ‘906 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘906

Patent.

          72.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘906 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘906 Patent are substantially the same, and an ordinary

observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘906 Patent to be substantially the same.

          73.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

          74.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

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          75.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                         Count VII:
            Patent Infringement of U.S. Patent No. D783,368 Under 35 U.S.C. § 271

          76.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

75 as though fully set forth herein.

          77.   Igloo has infringed and continues to infringe the ‘368 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘368

Patent.

          78.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘368 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘368 Patent are substantially the same, and an ordinary

observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘368 Patent to be substantially the same.

          79.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

          80.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

          81.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

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                                         Count VIII:
            Patent Infringement of U.S. Patent No. D823,069 Under 35 U.S.C. § 271

          82.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

81 as though fully set forth herein.

          83.   Igloo has infringed and continues to infringe the ‘069 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the claim of the ‘069

Patent.

          84.   Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle infringe the

‘069 Patent because the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel Bottle

and 36 oz. Stainless Steel Bottle and the ‘069 Patent are substantially the same, and an ordinary

observer would perceive the overall appearance of the designs of Igloo’s 26 oz. Stainless Steel

Bottle and 36 oz. Stainless Steel Bottle and the ‘069 Patent to be substantially the same.

          85.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

          86.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

          87.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.




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                                         Count IX:
           Patent Infringement of U.S. Patent No. D760,586 Under 35 U.S.C. § 271

        88.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

87 as though fully set forth herein.

        89.    Igloo has infringed and continues to infringe the ‘586 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing lids

with their 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the

claim of the ‘586 Patent.

        90.    The lids of Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle

infringe the ‘586 Patent because the overall appearance of the lid designs of Igloo’s 26 oz. Stainless

Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘586 Patent are substantially the same, and

an ordinary observer would perceive the overall appearance of the lid designs of Igloo’s 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘586 Patent to be substantially the

same.

        91.    Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

        92.    YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

        93.    Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.




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                                         Count X:
           Patent Infringement of U.S. Patent No. D781,146 Under 35 U.S.C. § 271

        94.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

93 as though fully set forth herein.

        95.    Igloo has infringed and continues to infringe the ‘146 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing lids

with their 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the

claim of the ‘146 Patent.

        96.    The lids of Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle

infringe the ‘146 Patent because the overall appearance of the lid designs of Igloo’s 26 oz. Stainless

Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘146 Patent are substantially the same, and

an ordinary observer would perceive the overall appearance of the lid designs of Igloo’s 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘146 Patent to be substantially the

same.

        97.    Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

        98.    YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

        99.    Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.




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                                         Count XI:
           Patent Infringement of U.S. Patent No. D780,577 Under 35 U.S.C. § 271

        100.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

99 as though fully set forth herein.

        101.   Igloo has infringed and continues to infringe the ‘577 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing lids

with their 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the

claim of the ‘577 Patent.

        102.   The lids of Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle

infringe the ‘577 Patent because the overall appearance of the lid designs of Igloo’s 26 oz. Stainless

Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘577 Patent are substantially the same, and

an ordinary observer would perceive the overall appearance of the lid designs of Igloo’s 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘577 Patent to be substantially the

same.

        103.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

        104.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

        105.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.




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                                        Count XII:
           Patent Infringement of U.S. Patent No. D781,145 Under 35 U.S.C. § 271

        106.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

105 as though fully set forth herein.

        107.   Igloo has infringed and continues to infringe the ‘145 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing lids

with their 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle, which are covered by the

claim of the ‘145 Patent.

        108.   The lids of Igloo’s 26 oz. Stainless Steel Bottle and 36 oz. Stainless Steel Bottle

infringe the ‘145 Patent because the overall appearance of the lid designs of Igloo’s 26 oz. Stainless

Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘145 Patent are substantially the same, and

an ordinary observer would perceive the overall appearance of the lid designs of Igloo’s 26 oz.

Stainless Steel Bottle and 36 oz. Stainless Steel Bottle and the ‘145 Patent to be substantially the

same.

        109.   Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

        110.   YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

        111.   Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.




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                                       Count XIII:
          Patent Infringement of U.S. Patent No. D780,530 Under 35 U.S.C. § 271

       112.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

111 as though fully set forth herein.

       113.    Igloo has infringed and continues to infringe the ‘530 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 12 oz.

Stainless Steel CoolMate, which is covered by the claim of the ‘530 Patent.

       114.    Igloo’s 12 oz. Stainless Steel CoolMate infringes the ‘530 Patent because the

overall appearance of the designs of Igloo’s 12 oz. Stainless Steel CoolMate and the ‘530 Patent

are substantially the same, and an ordinary observer would perceive the overall appearance of the

designs of Igloo’s 12 oz. Stainless Steel CoolMate and the ‘530 Patent to be substantially the same.

       115.    Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

       116.    YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

       117.    Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                       Count XIV:
          Patent Infringement of U.S. Patent No. D779,891 Under 35 U.S.C. § 271

       118.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

117 as though fully set forth herein.




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       119.    Igloo has infringed and continues to infringe the ‘891 Patent at least by using,

selling, offering to sell, making, and/or importing into the United States Igloo’s infringing 12 oz.

Stainless Steel CoolMate, which is covered by the claim of the ‘891 Patent.

       120.    Igloo’s 12 oz. Stainless Steel CoolMate infringes the ‘891 Patent because the

overall appearance of the designs of Igloo’s 12 oz. Stainless Steel CoolMate and the ‘891 Patent

are substantially the same, and an ordinary observer would perceive the overall appearance of the

designs of Igloo’s 12 oz. Stainless Steel CoolMate and the ‘891 Patent to be substantially the same.

       121.    Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

       122.    YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, 285, and 289.

       123.    Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                        Count XV:
          Patent Infringement of U.S. Patent No. 11,014,720 Under 35 U.S.C. § 271

       124.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

123 as though fully set forth herein.

       125.    Igloo has infringed and continues to infringe the ‘720 Patent at least by using,

selling, offering to sell, making, and/or importing in the United States Igloo’s infringing 20 oz.

Stainless Steel Tumbler lid, which includes each and every element of one or more claims of the

‘720 Patent, either literally, or through the doctrine of equivalents, including at least claim 12.




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        126.    Claim 12 of the ‘720 Patent recites “[a] lid assembly comprising:” “a lid having a

rim for engaging an opening of a container, a side wall defining a groove for placement of a

gasket,” “a middle wall having a channel, the channel having a first opening, a pair of second

openings, a first guide and a second guide,” “and a slider configured to selectively provide a closed

position by covering the first opening and an opened position by exposing the first opening, the

slider comprising a slider tab, an elastic first leg, and an elastic second leg, and a slider channel

located on a bottom surface of the slider,” “wherein the elastic first leg and the elastic second leg

are formed with proximal ends and distal ends wherein the distal ends of the elastic first leg and

the elastic second leg each comprise a ledge forming a pair of ledges for contacting the first guide

and the second guide of the lid and wherein the ledges of the elastic first leg and the elastic second

leg extend through the second pair of openings to contact underside surfaces of the first guide and

the second guide,” “wherein the slider is configured to be secured on the lid and is configured to

be removable from the lid by a user,” “wherein the first leg and the second leg are tapered to permit

the elastic first leg and the elastic second leg to flex inward as the slider is placed onto the lid.”

        127.    Igloo’s infringing 20 oz. Stainless Steel Tumbler lid infringes at least claim 12 of

the ‘720 Patent because it is a lid that includes all of the claim elements of at least claim 12, either

literally or through the doctrine of equivalents, including “a lid having a rim for engaging an

opening of a container, a side wall defining a groove for placement of a gasket,” “a middle wall

having a channel, the channel having a first opening, a pair of second openings, a first guide and a

second guide,” “and a slider configured to selectively provide a closed position by covering the

first opening and an opened position by exposing the first opening, the slider comprising a slider

tab, an elastic first leg, and an elastic second leg, and a slider channel located on a bottom surface

of the slider,” “wherein the elastic first leg and the elastic second leg are formed with proximal



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ends and distal ends wherein the distal ends of the elastic first leg and the elastic second leg each

comprise a ledge forming a pair of ledges for contacting the first guide and the second guide of the

lid and wherein the ledges of the elastic first leg and the elastic second leg extend through the

second pair of openings to contact underside surfaces of the first guide and the second guide,”

“wherein the slider is configured to be secured on the lid and is configured to be removable from

the lid by a user,” “wherein the first leg and the second leg are tapered to permit the elastic first

leg and the elastic second leg to flex inward as the slider is placed onto the lid.”

       128.    Igloo’s acts of infringement have been without express or implied license by YETI,

are in violation of YETI’s rights, and will continue unless enjoined by this Court.

       129.    YETI has been, is being, and will continue to be injured and has suffered, is

suffering, and will continue to suffer injury and damages for which it is entitled to relief under at

least 35 U.S.C. §§ 281, 284, and 285.

       130.    Igloo also has caused, is causing, and will continue to cause irreparable harm to

YETI for which there is no adequate remedy at law and for which YETI is entitled to injunctive

relief under at least 35 U.S.C. § 283.

                                      Count XVI:
      Trade Dress Infringement under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)

       131.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

130 as though fully set forth herein.

       132.    Igloo’s advertisements, promotions, offers to sell, sales, distribution, manufacture,

and/or importing of the infringing products violate § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a),

by infringing YETI’s trade dress. Igloo’s use of YETI’s trade dress and/or colorable imitations

thereof is likely to cause confusion, mistake, or deception as to the affiliation, connection, and/or

association of Igloo with YETI and as to the origin, sponsorship, and/or approval of the infringing

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products, at least by creating the false and misleading impression that the infringing products are

manufactured by, authorized by, or otherwise associated with YETI.

        133.   YETI’s trade dress is entitled to protection under the Lanham Act. YETI’s trade

dress includes unique, distinctive, and non-functional designs. YETI has extensively and

continuously promoted and used its trade dress in the United States. Through that extensive and

continuous use, YETI’s trade dress has become a well-known indicator of the origin and quality

of YETI’s products. YETI’s trade dress has also acquired substantial secondary meaning in the

marketplace. Moreover, YETI’s trade dress acquired this secondary meaning before Igloo

commenced its unlawful use of YETI’s trade dress in connection with the infringing products.

        134.   Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused

and, unless enjoined, will continue to cause substantial and irreparable injury to YETI for which

YETI has no adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products, and

YETI.

        135.   On information and belief, Igloo’s use of YETI’s trade dress and/or colorable

imitations thereof has been intentional, willful, and malicious. Igloo’s bad faith is evidenced at

least by the similarity of the infringing products to YETI’s trade dress and by Igloo’s continuing

disregard for YETI’s rights.

        136.   YETI is entitled to injunctive relief, and YETI is entitled to recover at least Igloo’s

profits, YETI’s actual damages, enhanced damages, costs, and reasonable attorney fees under at

least 15 U.S.C. §§ 1125(a), 1116, and 1117.




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                                       Count XVII:
         Trade Dress Dilution under § 43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

       137.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

136 as though fully set forth herein.

       138.    Based on the activities described above, including, for example, Igloo’s advertising,

marketing, promoting, offering for sale, selling, distributing, manufacturing, and/or importing the

infringing products, Igloo is likely to dilute, has diluted, and continues to dilute YETI’s famous

trade dress in violation of § 43(c) of the Lanham Act, 15 U.S.C. § 1125(c). Igloo’s use of YETI’s

trade dress and/or colorable imitations thereof is likely to cause, and has caused, dilution of YETI’s

famous trade dress at least by eroding the public’s exclusive identification of YETI’s famous trade

dress with YETI and YETI’s products, by lessening the capacity of YETI’s famous trade dress to

identify and distinguish YETI’s products, by associating YETI’s trade dress with products of

inferior quality, and by impairing the distinctiveness of YETI’s famous trade dress.

       139.    YETI’s trade dress is famous and is entitled to protection under the Lanham Act.

YETI’s trade dress includes unique, distinctive, and non-functional designs. YETI’s trade dress

has acquired distinctiveness through YETI’s extensive and continuous promotion and use of

YETI’s trade dress in the United States. Through that extensive and continuous use, YETI’s trade

dress has become a famous well-known indicator of the origin and quality of YETI’s products

throughout the United States, and is widely recognized by the general consuming public as a

designation of the source of YETI and YETI’s products. YETI’s trade dress has also acquired

substantial secondary meaning in the marketplace. Moreover, YETI’s trade dress became famous

and acquired this secondary meaning before Igloo commenced its unlawful use of YETI’s trade

dress in connection with the infringing products.




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        140.    Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused,

and, unless enjoined, will continue to cause, substantial and irreparable injury to YETI for which

YETI has no adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products, and

YETI.

        141.    On information and belief, Igloo’s use of YETI’s trade dress and/or colorable

imitations thereof has been intentional, willful, and malicious. Igloo’s bad faith is evidenced at

least by the similarity of the infringing products to YETI’s trade dress and Igloo’s continuing

disregard for YETI’s rights.

        142.    YETI is entitled to injunctive relief, and YETI is also entitled to recover at least

Igloo’s profits, YETI’s actual damages, enhanced profits and damages, costs, and reasonable

attorney fees under at least 15 U.S.C. §§ 1125(c), 1116, and 1117.

                                       Count XVIII:
               Unfair Competition and False Designation of Origin under § 43(a)
                          of the Lanham Act, 15 U.S.C. § 1125(a)

        143.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

142 as though fully set forth herein.

        144.    Igloo’s advertisements, marketing, promotions, offers to sell, sales, distribution,

manufacture, and/or importing of the infringing products, in direct competition with YETI, violate

§ 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) and constitute unfair competition and false

designation of origin, at least because Igloo has obtained an unfair advantage as compared to YETI

through Igloo’s use of YETI’s trade dress and because such use is likely to cause consumer

confusion as to the origin, sponsorship, and/or affiliation of Igloo’s infringing products, at least by




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creating the false and misleading impression that its infringing products are manufactured by,

authorized by, or otherwise associated with YETI.

        145.   YETI’s trade dress is entitled to protection under the Lanham Act. YETI’s trade

dress includes unique, distinctive, and non-functional designs. YETI has extensively and

continuously promoted and used its trade dress in the United States. Through that extensive and

continuous use, YETI’s trade dress has become a well-known indicator of the origin and quality

of YETI’s products. YETI’s trade dress has also acquired substantial secondary meaning in the

marketplace. Moreover, YETI’s trade dress acquired this secondary meaning before Igloo

commenced its unlawful use of YETI’s trade dress in connection with the infringing products.

        146.   Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused

and, unless enjoined, will continue to cause substantial and irreparable injury to YETI for which

YETI has no adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products, and

YETI.

        147.   On information and belief, Igloo’s use of YETI’s trade dress and colorable

imitations thereof has been intentional, willful, and malicious. Igloo’s bad faith is evidenced at

least by the similarity of the infringing products to YETI’s trade dress and by Igloo’s continuing

disregard for YETI’s rights.

        148.   YETI is entitled to injunctive relief, and YETI is also entitled to recover at least

Igloo’s profits, YETI’s actual damages, enhanced damages, costs, and reasonable attorney fees

under at least 15 U.S.C. §§ 1125(a), 1116, and 1117.

                                       Count XIX:
                Trade Dress Dilution Under Tex. Bus. & Com. Code § 16.103

        149.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

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148 as though fully set forth herein.

       150.    Based on the activities described above, including, for example, Igloo’s advertising,

marketing, promoting, offering for sale, selling, distributing, manufacturing, and/or importing the

infringing products, Igloo is likely to dilute, has diluted, and continues to dilute YETI’s trade dress

in violation of § 16.103 of the Texas Business & Commerce Code. Igloo’s use of YETI’s trade

dress and/or colorable imitations thereof is likely to cause, and has caused, dilution of YETI’s

famous trade dress at least by eroding the public’s exclusive identification of YETI’s famous trade

dress with YETI, by lessening the capacity of YETI’s famous trade dress to identify and distinguish

YETI’s products, by associating YETI’s trade dress with products of inferior quality, and by

impairing the distinctiveness of YETI’s famous trade dress.

       151.    YETI’s trade dress is famous and is entitled to protection under Texas law. YETI’s

trade dress includes unique, distinctive, and non-functional designs. YETI has extensively and

continuously promoted and used its trade dress in the United States and in the State of Texas.

Through that extensive and continuous use, YETI’s trade dress has become a famous well-known

indicator of the origin and quality of YETI’s products in the United States and in the State of Texas

generally and in geographic areas in Texas, and YETI’s trade dress is widely recognized by the

public throughout Texas and in geographic areas in Texas as a designation of the source of YETI

and YETI’s products. YETI’s trade dress has also acquired substantial secondary meaning in the

marketplace, including in the State of Texas and in geographic areas in Texas. Moreover, YETI’s

trade dress became famous and acquired this secondary meaning before Igloo commenced its

unlawful use of YETI’s trade dress in connection with the infringing products.

       152.    Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused,

and, unless enjoined, will continue to cause, substantial and irreparable injury to YETI for which



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YETI has no adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products, and

YETI.

        153.   On information and belief, Igloo’s use of YETI’s trade dress and/or colorable

imitations thereof has been intentional, willful, and malicious. Igloo’s bad faith is evidenced at

least by the similarity of the infringing products to YETI’s trade dress and by Igloo’s continuing

disregard for YETI’s rights.

        154.   YETI is entitled to injunctive relief, and YETI is also entitled to recover at least

Igloo’s profits, YETI’s actual damages, enhanced profits and damages, and reasonable attorney

fees under at least Tex. Bus. & Com. Code § 16.104.

                                      Count XX:
                           Common Law Trade Dress Infringement

        155.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

154 as though fully set forth herein.

        156.   Igloo’s advertisements, marketing, promotions, offers to sell, sales, distribution,

manufacture, and/or importing of the infringing products, in direct competition with YETI,

constitute common law trade dress infringement, at least because Igloo’s use of YETI’s trade dress

and/or colorable imitations thereof is likely to cause consumer confusion as to the origin,

sponsorship, and/or affiliation of its infringing products, at least by creating the false and

misleading impression that its infringing products are manufactured by, authorized by, or

otherwise associated with YETI.

        157.   YETI’s trade dress is entitled to protection under the common law. YETI’s trade

dress includes unique, distinctive, and non-functional designs. YETI has extensively and

continuously promoted and used its trade dress in the United States and the State of Texas.

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Through that extensive and continuous use, YETI’s trade dress has become a well-known indicator

of the origin and quality of YETI’s products. YETI’s trade dress has also acquired substantial

secondary meaning in the marketplace. Moreover, YETI’s trade dress acquired this secondary

meaning before Igloo commenced its unlawful use of YETI’s trade dress in connection with its

infringing products.

        158.   Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused

and, unless enjoined, will continue to cause substantial and irreparable injury to YETI for which

YETI has no adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products, and

YETI.

        159.   On information and belief, Igloo’s use of YETI’s trade dress and/or colorable

imitations thereof has been intentional, willful, and malicious. Igloo’s bad faith is evidenced at

least by the similarity of its infringing products to YETI’s trade dress and Igloo’s continuing

disregard for YETI’s rights.

        160.   YETI is entitled to injunctive relief, and YETI is also entitled to recover at least

YETI’s damages, Igloo’s profits, punitive damages, costs, and reasonable attorney fees.

                                       Count XXI:
                               Common Law Unfair Competition

        161.   YETI realleges and incorporates the allegations set forth in paragraphs 1 through

160 as though fully set forth herein.

        162.   Igloo’s advertisements, marketing, promotions, offers to sell, sales, distribution,

manufacture, and/or importing of the infringing products, in direct competition with YETI,

constitute common law unfair competition, at least by palming off/passing off of Igloo’s goods,

by simulating YETI’s trade dress in an intentional and calculated manner that is likely to cause

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consumer confusion as to origin, sponsorship, and/or affiliation of Igloo’s infringing products, at

least by creating the false and misleading impression that its infringing products are manufactured

by, authorized by, or otherwise associated with YETI. Igloo has also interfered with YETI’s

business.

        163.   YETI’s trade dress is entitled to protection under the common law. YETI’s trade

dress includes unique, distinctive, and non-functional designs. YETI has extensively and

continuously promoted and used YETI’s trade dress for years in the United States and the State of

Texas. Through that extensive and continuous use, YETI’s trade dress has become a well-known

indicator of the origin and quality of YETI’s products. YETI’s trade dress has also acquired

substantial secondary meaning in the marketplace. Moreover, YETI’s trade dress acquired this

secondary meaning before Igloo commenced its unlawful use of YETI’s trade dress in connection

with its infringing products.

        164.   Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused

and, unless enjoined, will continue to cause substantial and irreparable injury to YETI for which

YETI has no adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products, and

YETI.

        165.   On information and belief, Igloo’s use of YETI’s trade dress and/or colorable

imitations thereof has been intentional, willful, and malicious. Igloo’s bad faith is evidenced at

least by the similarity of its infringing products to YETI’s trade dress and Igloo’s continuing

disregard for YETI’s rights.

        166.   YETI is entitled to injunctive relief, and YETI is also entitled to recover at least

YETI’s damages, Igloo’s profits, punitive damages, costs, and reasonable attorney fees.



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                                       Count XXII:
                                Common Law Misappropriation

       167.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

166 as though fully set forth herein.

       168.    Igloo’s advertisements, promotions, offers to sell, sales, distribution, manufacture,

and/or importing of the infringing products, in direct competition with YETI, constitute common

law misappropriation.

       169.    YETI created the products covered by YETI’s trade dress through extensive time,

labor, effort, skill, and money. Igloo has wrongfully used YETI’s trade dress and/or colorable

imitations thereof in direct competition with YETI and gained a special advantage because Igloo

was not burdened with the expenses incurred by YETI. Igloo has commercially damaged YETI, at

least by causing consumer confusion as to origin, sponsorship, and/or affiliation of Igloo’s

infringing products, by creating the false and misleading impression that its infringing products

are manufactured by, authorized by, or otherwise associated with YETI, and by taking away sales

that YETI would have made.

       170.    YETI’s trade dress is entitled to protection under the common law. YETI’s trade

dress includes unique, distinctive, and non-functional designs. YETI has extensively and

continuously promoted and used YETI’s trade dress for years in the United States and the State of

Texas. Through that extensive and continuous use, YETI’s trade dress has become a well-known

indicator of the origin and quality of YETI’s products. YETI’s trade dress has also acquired

substantial secondary meaning in the marketplace. Moreover, YETI’s trade dress acquired this

secondary meaning before Igloo commenced its unlawful use of YETI’s trade dress in connection

with its infringing products.




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       171.    Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused

and, unless enjoined, will continue to cause substantial and irreparable commercial injury to YETI

for which YETI has no adequate remedy at law, including at least substantial and irreparable injury

to the goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products,

and YETI. Moreover, as a result of its misappropriation, Igloo has profited and, unless such

conduct is enjoined by this Court, will continue to profit by misappropriating the time, effort, and

money that YETI invested in establishing the reputation and goodwill associated with YETI’s

trade dress, YETI’s products, and YETI.

       172.    Igloo’s misappropriation of YETI’s trade dress and/or colorable imitations thereof

has been intentional, willful, and malicious. Igloo’s bad faith is evidenced at least by the similarity

of its infringing products to YETI’s trade dress and Igloo’s continuing disregard for YETI’s rights.

       173.    YETI is entitled to injunctive relief, and YETI is also entitled to recover at least

YETI’s damages, Igloo’s profits, punitive damages, costs, and reasonable attorney fees.

                                          Count XXIII:
                                        Unjust Enrichment

       174.    YETI realleges and incorporates the allegations set forth in paragraphs 1 through

173 as though fully set forth herein.

       175.    Igloo’s advertisements, promotions, offers to sell, sales, distribution, manufacture,

and/or importing of its infringing products, in direct competition with YETI, constitute unjust

enrichment, at least because Igloo has wrongfully obtained benefits at YETI’s expense. Igloo has

also, inter alia, operated with an undue advantage.

       176.    YETI created the products covered by YETI’s trade dress through extensive time,

labor, effort, skill, and money. Igloo has wrongfully used and is wrongfully using YETI’s trade

dress, and/or colorable imitations thereof, in direct competition with YETI, and has gained and is

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gaining a wrongful benefit by undue advantage through such use. Igloo has not been burdened

with the expenses incurred by YETI, yet Igloo is obtaining the resulting benefits for its own

business and products.

       177.    YETI’s trade dress is entitled to protection under the common law. YETI’s trade

dress includes unique, distinctive, and non-functional designs. YETI has extensively and

continuously promoted and used YETI’s trade dress for years in the United States and the State of

Texas. Through that extensive and continuous use, YETI’s trade dress has become a well-known

indicator of the origin and quality of YETI’s products. YETI’s trade dress has also acquired

substantial secondary meaning in the marketplace. Moreover, YETI’s trade dress acquired this

secondary meaning before Igloo commenced its unlawful use of YETI’s trade dress and colorable

imitations thereof in connection with its infringing products.

       178.    Igloo’s use of YETI’s trade dress and/or colorable imitations thereof has caused

and, unless enjoined, will continue to cause substantial and irreparable commercial injury to YETI

for which YETI has no adequate remedy at law, including at least substantial and irreparable injury

to the goodwill and reputation for quality associated with YETI’s trade dress, YETI’s products,

and YETI. YETI accumulated this goodwill and reputation through extensive time, labor, effort,

skill, and investment. Igloo has wrongfully obtained and is wrongfully obtaining a benefit at

YETI’s expense by taking undue advantage and free-riding on YETI’s efforts and investments,

and enjoying the benefits of YETI’s hard-earned goodwill and reputation.

       179.    Igloo’s unjust enrichment at YETI’s expense has been intentional, willful, and

malicious. Igloo’s bad faith is evidenced at least by the similarity of its infringing products to

YETI’s trade dress and Igloo’s continuing disregard for YETI’s rights.




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        180.       YETI is entitled to injunctive relief, and YETI is also entitled to recover at least

Igloo’s profits.

                                        Demand for Jury Trial

        YETI hereby demands a jury trial on all issues so triable.

                                              Relief Sought

        WHEREFORE, Plaintiff YETI respectfully prays for:

        1.         Judgment that Igloo has (i) infringed the ‘367 Patent in violation of § 271 of Title

35 of the United States Code; (ii) infringed the ‘125 Patent in violation of § 271 of Title 35 of the

United States Code; (iii) infringed the ‘775 Patent in violation of § 271 of Title 35 of the United

States Code; (iv) infringed the ‘256 Patent in violation of § 271 of Title 35 of the United States

Code; and (v) infringed the ‘126 Patent in violation of § 271 of Title 35 of the United States Code;

(vi) infringed the ‘906 Patent in violation of § 271 of Title 35 of the United States Code; (vii)

infringed the ‘368 Patent in violation of § 271 of Title 35 of the United States Code; (viii) infringed

the ‘069 Patent in violation of § 271 of Title 35 of the United States Code; (ix) infringed the ‘586

Patent in violation of § 271 of Title 35 of the United States Code; (x) infringed the ‘146 Patent in

violation of § 271 of Title 35 of the United States Code; (xi) infringed the ‘577 Patent in violation

of § 271 of Title 35 of the United States Code; (xii) infringed the ‘145 Patent in violation of § 271

of Title 35 of the United States Code; (xiii) infringed the ‘530 Patent in violation of § 271 of Title

35 of the United States Code; (xiv) infringed the ‘891 Patent in violation of § 271 of Title 35 of

the United States Code; (xv) infringed the ‘720 Patent in violation of § 271 of Title 35 of the United

States Code; (xvi) infringed YETI’s trade dress in violation of § 1125(a) of Title 15 in the United

State Code; (xvii) diluted YETI’s trade dress in violation of § 1125(c) of Title 15 in the United

States Code; (xviii) engaged in unfair competition and false designation of origin in violation of §



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1125(a) of Title 15 in the United States Code; (ixx) diluted YETI’s trade dress in violation of Tex.

Bus. & Com. Code § 16.103; (xx) violated YETI’s common law rights in YETI’s trade dress; (xxi)

engaged in common law unfair competition; (xxii) engaged in misappropriation; (xxiii) been

unjustly enriched at YETI’s expense, and that all of these wrongful activities by Igloo are willful.

       2.      An injunction against further infringement of YETI’s patents, further infringement

and dilution of YETI’s trade dress, and further acts of unfair competition, misappropriation, and

unjust enrichment by Igloo and each of Igloo’s agents, employees, servants, attorneys, successors

and assigns, and all others in privity or acting in concert with any of them, pursuant to at least 35

U.S.C. § 283, 15 U.S.C. § 1116 and Tex. Bus. & Com. Code § 16.104;

       3.      An Order directing Igloo to recall all infringing products sold and/or distributed

and provide a full refund for all recalled infringing products;

       4.      An Order directing the destruction of (i) all infringing products, including all

recalled infringing products, (ii) any other products that use a copy, reproduction, or colorable

imitation of YETI’s trade dress in Igloo’s possession or control, (iii) all plates, molds, and other

means of making the infringing products in Igloo’s possession, custody, or control, and (iv) all

advertising materials relating to the infringing products in Igloo’s possession, custody, or control,

including on the Internet, pursuant to at least 15 U.S.C. § 1118;

       5.      An Order directing YETI to publish a public notice providing proper attribution of

YETI’s trade dress to YETI, and to provide a copy of this notice to all customers, distributors,

and/or others from whom the infringing products are recalled;

       6.      An Order barring importation of the infringing products and/or colorable imitations

thereof into the United States, and barring entry of the infringing products and/or colorable




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imitations thereof into any customhouse of the United States, pursuant to at least 15 U.S.C. §

1125(b);

       7.      An award of damages adequate to compensate YETI for Igloo’s patent

infringements pursuant at least to 35 U.S.C. § 284, and an award for Igloo’s profits from its patent

infringements pursuant at least to 35 U.S.C. § 289, together with prejudgment interest and costs

and reasonable attorney fees, pursuant at least to 35 U.S.C. §§ 284 and 285;

       8.      An award of Igloo’s profits, YETI’s actual damages, enhanced damages, punitive

damages, exemplary damages, costs, prejudgment and post judgment interest, and reasonable

attorney fees pursuant to at least 15 U.S.C. §§ 1125(a), 1125(c), 1116, and 1117 and Tex. Bus. &

Com. Code § 16.104; and

       9.      Such other and further relief as this Court deems just and proper.




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Dated: October 1, 2021             Respectfully submitted,

                                   By: /s/ Joseph J. Berghammer
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